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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                   No. 4:06CR00381 JLH

YANELY BASALDUA (3),
JUANA CASTILLO (4),
JESUS SANCHEZ (6),
RUBIO QUERUBIN (7),
MARIA BASALDUA (8),
SILVIA MARTINEZ (10),
JULIO HERNANDEZ (11),
ESTHER SAAVEDRA-TIRADO (14),
JOSE CHAVEZ (18),
JOSE HUERTA (22),
VICKY BARDALES (24),
CARLOS CASTILLO-HERNANDEZ (26),
and NAZARIO ENRIQUEZ (28)                                                       DEFENDANTS

                                            ORDER

       The government has filed a motion to dismiss indictment and vacate warrants as to

defendants Yanely Basaldua, Juana Castillo, Jesus Sanchez, Rubio Querubin, Maria Basaldua, Silvia

Martinez, Julio Hernandez, Esther Saavedra-Tirado, Jose Chavez, Jose Huerta, Vicky Bardales,

Carlos Castillo-Hernandez, and Nazario Enriquez. The motion is GRANTED. Document #262.

The indictment is hereby dismissed without prejudice as to these defendants, and the warrants are

hereby recalled and vacated.

       IT IS SO ORDERED this 31st day of October, 2011.



                                                    ________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
